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 4
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 5                                   AT SEATTLE
 6
 7 UNITED STATES OF AMERICA, )
                                 )
 8                   Plaintiff,  )               CASE NO.      CR06-106 RSM
                                 )
 9         v.                    )
                                 )
10                               )               DETENTION ORDER
    FELIPE MARAMBA,              )
11                               )
                Defendant.       )
12 ______________________________)
13 Offense charged:
14            Count I: Conspiracy to Commit Bank Fraud, in violation of Title 18, U.S.C.,
15            Section 1349.
16 Date of Detention Hearing: June 28, 2006
17            The Court, having conducted a contested detention hearing pursuant to Title 18
18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
19 hereafter set forth, finds that no condition or combination of conditions which the defendant
20 can meet will reasonably assure the appearance of the defendant as required and the safety
21 of any other person and the community. The Government was represented by Jill Otake.
22 The defendant was represented by Ken Kanev.
23        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24            (1)    Defendant poses a risk of danger due to the nature of the instant offence
25                   and criminal history; he has an outstanding misdemeanor warrant.
26            (2)    Defendant poses a risk of non-appearance as he has several failures to

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 1               appear. Defendant is also associated with several aliases and numerous
 2               forms of identification.
 3         (3)   Defendant has no stable residence or income.
 4         (4)   Based upon the foregoing information, which is consistent with the
 5               recommendation of U.S. Pre-trial Services, it appears that there is no
 6               condition or combination of conditions that would reasonably assure
 7               future Court appearances and/or the safety of other persons or the
 8               community.
 9         It is therefore ORDERED:
10         (l)   The defendant shall be detained pending trial and committed to the
11               custody of the Attorney General for confinement in a correction facility
12               separate, to the extent practicable, from persons awaiting or serving
13               sentences or being held in custody pending appeal;
14         (2)   The defendant shall be afforded reasonable opportunity for private
15               consultation with counsel;
16         (3)   On order of a court of the United States or on request of an attorney for
17               the Government, the person in charge of the corrections facility in which
18               the defendant is confined shall deliver the defendant to a United States
19               Marshal for the purpose of an appearance in connection with a court
20               proceeding; and
21         (4)   The clerk shall direct copies of this order to counsel for the United
22               States, to counsel for the defendant, to the United States Marshal, and to
23               the United States Pretrial Services Officer.


                                                    A
24         DATED this 29th day of June, 2006.
25
                                                    MONICA J. BENTON
26                                                  United States Magistrate Judge

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